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 6                                 UNITED STATES DISTRICT COURT
 7
                                          DISTRICT OF NEVADA
 8

 9 TED LEE DALTON,                                    Case No.: 2:17-cv-02369-APG-GWF
10                                 Plaintiff,         STIPULATION AND ORDER FOR
11 v.                                                 DISMISSAL WITH PREJUDICE

12 CREDIT ONE BANK, N.A.,

13                                 Defendant.
14            Plaintiff Ted Lee Dalton and Defendant Credit One Bank, N.A. hereby stipulate and agree
15   as follows:
16            The above-entitled action, having been fully adjudicated via arbitration with JAMS, be
17   dismissed with prejudice, in this Court and with JAMS, and that each party bear their own costs
18   and attorney’s fees.
19
        DATED this 1st_ day of October, 2021.              DATED this 1st_ day of October, 2021.
20
        Brownstein Hyatt Farber Schreck, LLP               Law Offices of Craig B. Friedberg, Esq.
21
        By:     /s/_ Patrick J. Reilly_______              By:     /s/ Craig Friedberg
22      Patrick J. Reilly, Esq.                            Craig Friedberg, Esq.
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24      Attorneys for Credit One Bank, N.A.                Attorneys for Ted Lee Dalton

25                                                 ORDER
26
              IT IS SO ORDERED.
27                                                 _______________________________________
                                                   UNITED STATES DISTRICT COURT JUDGE
28                                                          October 5, 2021
                                                   DATED: _________________________


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